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  14                       SOUTHERN DISTRICT OF CALIFORNIA
  15   THE GEO GROUP, INC.,                       Case No. 19cv2491-JLS-WVG
  16                   Plaintiff,                 Assigned to District Judge Janis L.
                                                  Sammartino
  17   v.                                         Assigned to Magistrate Judge William v.
  18   GAVIN C. NEWSOM, in his official           Gallo
       capacity as Governor of the State of       MEMORANDUM OF POINTS AND
  19   California; XAVIER BECERRA, in his         AUTHORITIES IN SUPPORT OF
       official capacity as Attorney General of   MOTION FOR PRELIMINARY
  20   the State of California,                   INJUNCTION
  21                   Defendants.                [Notice of Motion and Motion,
                                                  Declarations of Amber Martin and C.
  22                                              Kendie Schlecht, Appendix of Exhibits
                                                  filed concurrently herewith; Order lodged
  23                                              concurrently herewith]
  24                                              Hearing Date: April 16, 2020
                                                  Hearing Time: 1:30 p.m.
  25                                              Place:   4D (4th Floor – Schwartz)
  26                                              FILE DATE:        December 30, 2019
                                                  TRIAL DATE:       No Date Set
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   6      (Cal. May 27, 2017), https://bit.ly/2O9c3eP, Ex. O ..................................... 15, 16
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   1         On January 1, 2020, California’s Assembly Bill 32 (AB-32) will take effect.
   2   The law purports to prohibit the United States from using detention facilities operated
   3   by private contractors to house detainees in the custody of the U.S. Marshals Service,
   4   U.S. Immigration and Customs Enforcement, or the Federal Bureau of Prisons. This
   5   transparent attempt by the State to shut down the Federal Government’s detention
   6   efforts within California’s borders is a direct assault on the supremacy of federal law
   7   that serves as the foundation for the American Constitution.
   8         The GEO Group, Inc. (GEO), as the owner and operator of federal private
   9   detention facilities threatened by the State, brings this action to vindicate the
  10   supremacy of federal law. This Court should declare AB-32 unconstitutional and
  11   enter a preliminary and permanent injunction restraining Defendants from enforcing
  12   the statute against GEO.
  13                                      STATEMENT
  14   I.    U.S. Marshals Service Detention Policy
  15         Established in 1789, the United States Marshals Service (USMS) is an agency
  16   within the United States Department of Justice under the supervision of the Attorney
  17   General. See 28 U.S.C. § 561(a). Congress has authorized the Attorney General to
  18   provide for “the housing, care, and security of persons held in custody of a United
  19   States marshal pursuant to Federal law under agreements with State or local units of
  20   government or contracts with private entities.” 18 U.S.C. § 4013(a)(3). Congress has
  21   also authorized the Attorney General, in his “reasonable discretion,” to carry out the
  22   activities of the Department of Justice “through any means,” including “through
  23   contracts, grants, or cooperative agreements with non-Federal parties.” 28 U.S.C.
  24   § 530C(a)(4); see also id. § 530C(b)(7).
  25         “The U.S. Marshals Service houses and transports all federal prisoners from
  26   the time they enter federal custody until they are either acquitted or convicted and
  27   delivered to their designated federal Bureau of Prisons facility. The Marshals Service
  28   assumes custody for all prisoners charged with a federal offense, no matter which
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   1   agency made the arrest.”1 Pursuant to the Attorney General’s statutory authority
   2   under 18 U.S.C. § 4013(a)(3) and 28 U.S.C. § 530C(a)(4), “[t]he Marshals Service
   3   does not own or operate detention facilities but partners with state and local
   4   governments using intergovernmental agreements to house prisoners. Additionally,
   5   the agency houses prisoners in Federal Bureau of Prisons facilities and private
   6   detention facilities.”2 Because “both defense attorneys and prosecutors require
   7   routine access to prisoners, the Marshals attempt to house prisoners in close
   8   proximity to the judicial district in which they are prosecuted.”3
   9         Along the Southwest Border, “DOJ has not been able to rely as much on
  10   [intergovernmental agreements with state and local detention facilities] and Federal
  11   facilities to meet housing requirements . . . . As less space in Federal facilities is
  12   available, DOJ has increasingly had to rely on the private sector” to meet its detention
  13   obligations.4 USMS estimates that 28.6 percent of the detention facilities used by the
  14   Marshals to house detainees from the Southern District of California are privately
  15   run.5 And now that GEO has begun operating the El Centro Service Processing
  16   Center on December 23, 2019, see infra Statement Section III.A.2, that figure has
  17
             1
  18              U.S. MARSHALS SERV., DEFENDANTS IN CUSTODY AND PRISONER
       MANAGEMENT, https://bit.ly/2MSd4Wv (last visited Dec. 30, 2019), Ex. F at 102.
  19          2
                 U.S. MARSHALS SERV., FACT SHEET: PRISONER OPERATIONS 2 (2019),
       https://bit.ly/2Yi5RED, Ex. G at 106.
  20          3
                Id.
  21          4
                 U.S. MARSHALS SERV., FY 2020 PERFORMANCE BUDGET PRESIDENT’S
       BUDGET: FEDERAL PRISONER DETENTION APPROPRIATION 15 (2019),
  22   https://bit.ly/2SnzdAx, Ex. H at 115.
              5
  23            U.S. MARSHALS SERV., USMS DETENTION POPULATION 2 (Apr. 31, 2019)
       [hereinafter DETENTION POPULATION], https://bit.ly/2BmUFMp, Ex. I at 126. This
  24   excludes facilities located in other States used by the Marshals to house detainees
       from this District, to which Section 2 of AB-32 does not apply. It also excludes
  25   intergovernmental service agreement facilities with an average daily population
       (ADP) below 50 because publicly available data does not identify these facilities and
  26   the number of individuals detained in them is minimal. These facilities are omitted
       from all data provided herein unless otherwise stated. And finally, this excludes
  27   Metropolitan Detention Center, Los Angeles, because that Federal Bureau of Prisons
       facility held only a single detainee as of April 31, 2019, and has no reported ADP for
  28   Fiscal Years 2018 and 2019.
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   1   risen to 37.5 percent. Two of those private facilities—the Western Region Detention
   2   Facility and El Centro Service Processing Center—are operated by GEO.
   3   II.   U.S. Immigration And Customs Enforcement Detention Policy
   4         In November 2002, Congress assigned the border-enforcement functions of
   5   the former Immigration and Naturalization Service to the newly created Bureau of
   6   Immigration and Customs Enforcement, housed within the Department of Homeland
   7   Security.6 The Bureau began operations in March 2003 and was renamed U.S.
   8   Immigration and Customs Enforcement (ICE) in March 2007.7
   9         Congress has authorized or required the detention of aliens under several
  10   different statutes and conditions. See, e.g., 8 U.S.C. §§ 1225(b)(1)(B)(ii),
  11   1225(b)(2)(A), 1226(a), 1226(c); see also Jennings v. Rodriguez, 138 S. Ct. 830,
  12   836–38 (2018). Congress has also directed that “[t]he Attorney General shall arrange
  13   for appropriate places of detention for aliens detained pending removal or a decision
  14   on removal,” 8 U.S.C. § 1231(g)(1), and it has instructed that ICE “shall consider the
  15   availability for purchase or lease of any existing prison, jail, detention center, or other
  16   comparable facility suitable for [detention]” “[p]rior to initiating any project for the
  17   construction of any new detention facility,” id. § 1231(g)(2). Thus, like USMS’s
  18   authority under Section 4013(a)(3), Section 1231(g)(2) authorizes ICE to use private
  19   contractors to arrange for detention. See United States v. California, 921 F.3d 865,
  20   882 n.7 (9th Cir. 2019).
  21         “[I]n FY2018 the number of book-ins to ICE facilities was nearly 400,000,”
  22   yet “[a]s of July 12, 2018, ICE’s detention capacity was approximately 45,700
  23   beds.”8 “Filling every available bed in a detention facility would necessitate housing
  24
             6
  25            U.S. IMMIGRATION & CUSTOMS ENF’T, CELEBRATING THE HISTORY OF ICE
       (Mar. 1, 2019), https://bit.ly/35Jas68, Ex. J at 130.
  26          7
                Id., Ex. J at 128, 131.
              8
  27              AUDREY SINGER, CONG. RESEARCH SERV., R45804, IMMIGRATION:
       ALTERNATIVES TO DETENTION (ATD) PROGRAMS 14 (July 8, 2019),
  28   https://bit.ly/2ojQNsE, Ex. M at 171.
                                                                               19CV2491-JLS-WVG
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   1   detainees of varied threat levels together, posing serious safety concerns for
   2   detainees, officers, staff, and facility owners. ICE consequently maintains a target
   3   utilization rate of about 85 to 90% of total facility capacity,” which “also allows for
   4   flexibility to respond to emergencies or other unforeseen circumstances that might
   5   require immediate availability of detention beds (e.g., charter flight cancellations,
   6   surges, or smuggling loads).”9 In the facilities ICE currently uses, “ICE meets or
   7   exceeds its target utilization in almost every instance.”10
   8         Across the country, ICE’s ability to house detainees is “already dire.”11 As
   9   then-Acting Secretary of Homeland Security, Kevin K. McAleenan, said in April
  10   2019: “It’s clear that all of our resources are being stretched thin. The system is full,
  11   and we are beyond capacity.”12 Homeland Security officials “are struggling to
  12   identify new locations where migrants can be held in detention.”13
  13         Thus, ICE has determined that “additional ICE detention capacity is
  14   necessary” to meet the surge of aliens detained at the border.14 Indeed, “[a]n increase
  15   in detention capacity is critical to supporting ICE’s ability to apprehend, detain, and
  16   remove aliens.”15
  17   ///
  18   ///
  19         9
                 U.S. IMMIGRATION & CUSTOMS ENF’T, DEP’T OF HOMELAND SEC., BUDGET
  20   OVERVIEW: FISCAL YEAR 2020 CONGRESSIONAL JUSTIFICATION ICE-O&S-119
       (2019) [hereinafter 2020 CONGRESSIONAL JUSTIFICATION], https://bit.ly/336G3g3,
  21   Ex. L at 154.
              10
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  22          11
                 Caitlin Dickerson, ICE Faces Migrant Detention Crunch as Border Chaos
  23   Spills Into Interior of the Country, N.Y. TIMES (Apr. 22, 2019),
       https://nyti.ms/2BEKvGS, Ex. N at 164.
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  25             Id.
              14
                 STATEMENT OF MATTHEW T. ALBENCE, ACTING DIR., U.S. IMMIGRATION &
  26   CUSTOMS ENF’T, THE FISCAL YEAR 2020 PRESIDENT’S BUDGET REQUEST 4
       (July 25, 2019), https://bit.ly/2Bllfp9, Ex. K at 136.
  27          15
                 2020 CONGRESSIONAL JUSTIFICATION, supra note 9, at ICE-O&S-16, Ex. L
  28   at 149.
                                                                             19CV2491-JLS-WVG
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   1   III.   GEO’s Detention Facilities In California
   2          The GEO Group, Inc. is a publicly traded corporation that owns and operates
   3   detention facilities worldwide. As a contractor for the Federal Government, GEO
   4   provides detention services for both USMS and ICE in the State of California.
   5          A.    GEO’s USMS Detention Facilities
   6                1.    Western Region Detention Facility
   7          Since 2000, GEO has operated the Western Region Detention Facility in San
   8   Diego under a lease from the County of San Diego. Martin Decl. ¶ 5. With a capacity
   9   of 725 beds,16 Western Region is one of only two USMS facilities in San Diego, the
  10   other being the Metropolitan Correction Center operated by the Federal Bureau of
  11   Prisons. Id. ¶¶ 4, 9. USMS has exercised an option to continue its contract with GEO
  12   for the Western Region Detention Facility through September 30, 2021. Id. ¶ 7.
  13   USMS has the authority to exercise three additional two-year options, such that the
  14   total contract term runs through September 30, 2027. Id. ¶ 6.
  15          The next-closest USMS facility outside of San Diego—Otay Mesa Detention
  16   Center—is also privately run. Id. ¶ 9. It is primarily used by ICE to house aliens,
  17   though USMS is permitted to use the facility for its own detainees. Id. Thus, if no
  18   privately run USMS detention facilities were permitted in California, there would be
  19   only one USMS detention facility in the San Diego area.17 Id. ¶ 10. The next-closest
  20   non-private USMS facilities are located approximately 90 miles away from San
  21   Diego in Santa Ana, California. Id. ¶ 11. Those two USMS facilities in Santa Ana
  22   had a combined average daily population of 213 in April 2019, less than one-third
  23   the average daily population of the Western Region Detention Facility alone.18
  24   ///
  25
              16
  26            Capacity numbers provided herein refer to capacity as stated in the relevant
       contract, unless a source other than the contract is indicated.
  27         17
                DETENTION POPULATION, supra note 5, at 2, Ex. I at 126.
             18
  28            Id.
                                                                           19CV2491-JLS-WVG
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   1                2.       El Centro Service Processing Center
   2         GEO’s second California USMS facility—El Centro Service Processing
   3   Center—is also located in the San Diego area and has a capacity of 512 beds. Id. ¶ 12.
   4   El Centro is owned by ICE, which has authorized USMS to use the facility for USMS
   5   detainees. Id. ¶ 13. GEO was awarded a contract to operate El Centro on
   6   December 23, 2019. Id. ¶ 14. The base contract period is for two years, with the
   7   Marshals retaining the authority to exercise three additional two-year options and one
   8   nine-month option. Id. Thus, the El Centro contract’s period of performance runs
   9   through September 25, 2028. Id.
  10         B.     GEO’s ICE Detention Facilities
  11         GEO currently operates five ICE detention facilities in California. Id. ¶ 15.
  12   First, GEO owns and operates the Adelanto ICE Processing Center, located in
  13   Adelanto, California, with a capacity of 1,940 beds. Id. ¶ 16. GEO has operated the
  14   facility as an ICE detention center since 2011. Id. ¶ 17. ICE and GEO signed a new
  15   contract for Adelanto on December 19, 2019. Id. ¶ 20. The contract has a 15-year
  16   period of performance starting on December 20, 2019, and ending December 19,
  17   2034. Id. ICE has the option of terminating the contract early every five years, with
  18   the first such option occurring on December 20, 2024. Id.
  19         Second, GEO owns and operates the Desert View Modified Community
  20   Correctional Facility (MCCF) as an annex to the Adelanto facility. Id. ¶ 22. The
  21   Desert View facility has a capacity of 750 beds. Id. It is incorporated into the same
  22   contract as the Adelanto facility, with a period of performance beginning on
  23   December 20, 2019, and continuing through December 20, 2034. Id. ¶ 24. Although
  24   currently used by the California Department of Corrections and Rehabilitation
  25   (CDCR) for state inmates, CDCR has notified GEO that it will phase out its contract
  26   and use of the facility by March 31, 2020. Id. ¶ 22. In the meantime, GEO is required
  27   by   its   contract     with   ICE   to    operate    the   facility   by   undertaking
  28   “Pre-Transition/Mobilization” activities. Id. ¶ 25.
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   1         Third, GEO owns and operates the Mesa Verde ICE Processing Center, located
   2   in Bakersfield, California, with a capacity of 400 beds. Id. ¶ 27. GEO has operated
   3   the facility as an ICE detention center since 2015. Id. ¶ 28. ICE and GEO signed a
   4   new contract for Mesa Verde on December 19, 2019. Id. ¶ 31. Like the Adelanto
   5   contract, the Mesa Verde contract has a 15-year period of performance starting on
   6   December 20, 2019, and ending December 19, 2034. Id. ICE has the option of
   7   terminating the contract early every five years, with the first such option occurring
   8   on December 20, 2024. Id.
   9         GEO’s fourth and fifth facilities—Central Valley MCCF and Golden State
  10   MCCF—are operated as annexes to the Mesa Verde facility. Each has a capacity of
  11   700 beds. Id. ¶¶ 33, 38. Central Valley is a former CDCR facility previously operated
  12   for CDCR through September 30, 2019, id. ¶ 33, while Golden State’s contract with
  13   CDCR will phase out by June 30, 2020, id. ¶ 38. Both facilities are incorporated into
  14   the Mesa Verde contract, with a period of performance running from December 20,
  15   2019, through December 19, 2034. Id. ¶¶ 35, 40. As with Desert View, GEO is
  16   required by its contract to operate the facility by undertaking “Pre-
  17   Transition/Mobilization” activities. Id. ¶¶ 25, 36, 41.
  18         In addition to the foregoing GEO facilities, ICE has two other dedicated
  19   detention facilities in California: Imperial Regional Detention Facility in Calexico,
  20   California (capacity of 704 beds) and Otay Mesa Detention Center in San Diego,
  21   California (capacity 1,994 beds). Id. ¶¶ 43, 45. Both of these facilities are operated
  22   by private contractors. Imperial Regional is operated by Management & Training
  23   Corporation, while Otay Mesa is operated by CoreCivic. Id. ¶¶ 43, 45. Thus, all
  24   dedicated ICE processing centers in California are privately operated.
  25   IV.   California’s Early Efforts To Obstruct Federal Immigration Policy
  26         The 2016 election ushered in a new President whose views on immigration
  27   policy differed markedly from those held by a majority of the California Legislature.
  28   Less than a month after the election, the Legislature began enacting a series of
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   1   measures designed to interfere with the execution of federal immigration policy, an
   2   effort that culminated in the enactment of AB-32.
   3         On December 5, 2016, Senate Bill 29 (SB-29) was introduced in the California
   4   Legislature. As enacted, the bill prohibits city, county, and local law enforcement
   5   agencies from entering into contracts “with the federal government or any federal
   6   agency or a private corporation to house or detain noncitizens for purposes of civil
   7   immigration custody” unless those contracts were in effect before January 1, 2018.
   8   CAL. CIV. CODE § 1670.9(a). The statute also prohibits the renewal or modification of
   9   such contracts thereafter “in a manner that would expand the maximum number of
  10   contract beds that may be utilized to house or detain in a locked detention facility
  11   noncitizens for purposes of civil immigration custody.” Id. § 1670.9(b). And SB-29
  12   prohibits cities, counties, and public agencies from “approv[ing] or sign[ing] a deed,
  13   instrument, or other document related to a conveyance of land or issue a permit for the
  14   building or reuse of existing buildings by any private corporation, contractor, or vendor
  15   to house or detain noncitizens for purposes of civil immigration proceedings unless the
  16   city, county, city and county, or public agency” provides the public 180 days’ notice
  17   and allows for public comment at two separate public meetings. Id. § 1670.9(d).
  18         On January 10, 2017, Assembly Bill 103 (AB-103) was introduced in the
  19   California Legislature. As enacted, AB-103 prohibits, among other things, city,
  20   county, and local law enforcement agencies from entering into contracts “with the
  21   federal government or any federal agency to detain adult noncitizens for purposes of
  22   civil immigration custody” unless those contracts were in effect before June 15, 2017.
  23   CAL. GOV’T CODE § 7310(a). The statute also prohibits the renewal or modification
  24   of such contracts thereafter “in such a way as to expand the maximum number of
  25   contract beds that may be utilized to house or detain in a locked detention facility
  26   noncitizens for purposes of civil immigration custody.” Id. § 7310(b).
  27         The Senate Floor Analysis of SB-29 baldly stated that the purpose of its
  28   enactment was to obstruct federal immigration policy: “President Donald Trump
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   1   has . . . made it clear that he intends to detain more immigrants and expand private
   2   for profit detention facility use. This bill would protect immigrants held in immigrant
   3   detention in California.”19 The Assembly Committee on Judiciary analysis of the bill
   4   likewise stated that it was needed “[i]n light of the changed circumstances in the
   5   White House,”20 and quotes SB-29’s author as saying that the bill was necessary due
   6   to “the new administration’s commitment to deport millions.”21 Governor Jerry
   7   Brown signed AB-103 into law on June 27, 2017, and he signed SB-29 into law a
   8   few months later, on October 5, 2017.
   9   V.    The Enactment Of AB-32
  10         On December 3, 2018, Assembly Bill 32 was introduced in the California
  11   Legislature. AB-32 builds on SB-29 and AB-103 by amending the California Penal
  12   Code in two principal ways.
  13         First, it generally prohibits the California Department of Corrections and
  14   Rehabilitation from contracting with private, for-profit prison facilities to house state
  15   inmates. As enacted, Section 1 of AB-32, codified at California Penal Code § 5003.1,
  16   prohibits CDCR from entering or renewing a “contract with a private, for-profit
  17   prison facility located in or outside of the state” to house or incarcerate state prison
  18   inmates.
  19         Significantly, Section 1 of AB-32 contains an exception permitting the CDCR
  20   to “renew or extend a contract with a private, for-profit prison facility to provide
  21   housing for state prison inmates in order to comply with the requirements of any
  22   court-ordered population cap.” CAL. PENAL CODE § 5003.1(e). California’s prison
  23   system is subject to a court-ordered population cap in which its total prison
  24   population may not exceed 137.5 percent of the prisons’ design capacities.
  25         19
                 Senate Rules Comm., Senate Floor Analyses for SB-29, 2017–18 Sess., at 5
  26   (Cal. May 27, 2017), https://bit.ly/2O9c3eP, Ex. O at 172.
              20
                  Assemb. Comm. on Judiciary, Analysis of SB-29, 2017–18 Sess., at 2
  27   (Cal. June 27, 2017), https://bit.ly/2O9c3eP, Ex. P at 177.
              21
  28             Id., Ex. P at 179.
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   1   See generally Brown v. Plata, 563 U.S. 493 (2011); Coleman v. Brown,
   2   952 F. Supp. 2d 901 (E.D. Cal. 2013). As of December 1, 2019, California’s prison
   3   system was operating at 131.2 percent of design capacity. Its male institutions were
   4   at 131.3 percent of capacity, while its female institutions were at 129.9 percent of
   5   capacity.22
   6         Second, Section 2 of AB-32 generally prohibits the operation of a private
   7   detention facility in the State of California, including a facility housing federal
   8   detainees. The prohibition is codified at California Penal Code § 9501: “Except as
   9   otherwise provided in this title, a person shall not operate a private detention facility
  10   within the state.” Section 9500, defines the key terms as follows:
  11         (a) “Detention facility” means any facility in which persons are
             incarcerated or otherwise involuntarily confined for purposes of
  12         execution of a punitive sentence imposed by a court or detention
  13         pending a trial, hearing, or other judicial or administrative proceeding.

  14         (b) “Private detention facility” means a detention facility that is operated
             by a private, nongovernmental, for-profit entity, and operating pursuant
  15         to a contract or agreement with a governmental entity.
  16   Section 9502 then enumerates a series of exceptions to Section 9501’s prohibition on
  17   the operation of private detention facilities, but as discussed below, these exceptions
  18   apply almost exclusively to state private detention facilities, not to federal facilities.
  19         Finally, Section 9505 contains two additional exceptions to the prohibition
  20   against the operation of private detention facilities set forth in Section 9501. The first,
  21   Section 9505(a), is a temporary safe-harbor provision:
  22         Section 9501 does not apply to . . . [a] private detention facility that is
             operating pursuant to a valid contract with a governmental entity that
  23         was in effect before January 1, 2020, for the duration of that contract,
  24         not to include any extensions made to or authorized by that contract.

  25   The second, Section 9505(b), provides a more categorical exception at the option of
  26   the CDCR: “Section 9501 does not apply to . . . [a] private detention facility contract
  27         22
                 CAL. DEP’T OF CORR. AND REHAB., MONTHLY REPORT                 OF   POPULATION
  28   (Dec. 1, 2019), https://bit.ly/38ZnK07, Ex. Q at 188.
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   1   renewed pursuant to subdivision (e) of Section 5003.1.” Subdivision (e) of Section
   2   5003.1, as noted above, allows the CDCR to use private facilities “in order to comply
   3   with the requirements of any court-ordered population cap.”
   4         Thus, after January 1, 2020 (the effective date of AB-32), the operation of a
   5   federal private detention facility will generally be prohibited in California unless the
   6   contract was in effect before January 1, 2020. As described above, this will cause the
   7   closure of at least ten privately operated facilities totaling 10,925 beds, which
   8   represent the overwhelming majority of detention capacity held by the Federal
   9   Government in the State of California. Martin Decl. ¶¶ 4, 12, 14 n.1, 16, 22, 27, 33,
  10   38, 43, 45. GEO manages seven of the privately operated facilities for USMS and
  11   ICE, totaling 5,727 beds. Id. ¶¶ 4, 12, 16, 22, 27, 33, 38.
  12         On the day he introduced AB-32, Assembly Member Rob Bonta issued a press
  13   release in which he denounced “the Trump Administration[’s] . . . cruel immigration
  14   policies” and criticized GEO for “facilitating the Trump Administration’s political
  15   agenda.”23 Similarly, the Senate Floor Analysis of AB-32 anticipated litigation
  16   challenging    its   constitutionality    by      “this    anti-immigrant      President’s
  17   Administration.”24 And Christina Fialho, co-founder of Freedom for Immigrants—a
  18   group listed as a supporter of AB-32 in the Senate Floor Analysis25—observed that
  19   AB-32 “will deal a critical blow to the Trump administration’s efforts to further
  20   expand its system of immigration detention, especially as other states follow our
  21   lead.”26 Governor Newsom signed AB-32 into law on October 11, 2019.
  22
  23         23
                 Press Release, Assembly Member Rob Bonta, Bonta Introduces Bills Ending
       State’s Involvement in For-Profit, Private Prison Industry (Dec. 3, 2018),
  24   https://bit.ly/2Pga7Ch, Ex. R at 191.
              24
  25             Senate Rules Comm., Senate Floor Analyses for AB-32, 2019–20 Sess., at 5
       (Cal. Sept. 9, 2019), https://bit.ly/35htShk, Ex. S at 198.
  26          25
                 Id., Ex. S at 206.
              26
  27             Don Thompson & Amy Taxin, California To End its Use of Private, For-
       Profit Prisons, ASSOCIATED PRESS (Oct. 11, 2019), https://bit.ly/2Pgb6C6, Ex. T
  28   at 208.
                                                                                19CV2491-JLS-WVG
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   1                                        ARGUMENT
   2           “A party seeking a preliminary injunction must meet one of two variants of the
   3   same standard.” All. for the Wild Rockies v. Pena, 865 F.3d 1211, 1217 (9th Cir.
   4   2017). As articulated by the Supreme Court, “ [a] plaintiff seeking a preliminary
   5   injunction must establish that he is likely to succeed on the merits, that he is likely to
   6   suffer irreparable harm in the absence of preliminary relief, that the balance of
   7   equities tips in his favor, and that an injunction is in the public interest.” Winter v.
   8   Nat. Res. Def. Council, 555 U.S. 7, 20 (2008). “In the Ninth Circuit, a plaintiff may
   9   also obtain a preliminary injunction by showing serious questions go[ ] to the merits
  10   of its claims and a balance of hardships that tips sharply towards the plaintiff, so long
  11   as it makes a showing on the other two factors.” A Woman’s Friend Pregnancy Res.
  12   Clinic v. Becerra, 901 F.3d 1166, 1167 (9th Cir. 2018) (alteration in original)
  13   (quotation marks omitted). GEO is entitled to a preliminary injunction under either
  14   test.
  15   I.      GEO Is Likely To Succeed On The Merits.
  16           AB-32 is unconstitutional under two related doctrines that, consistent with the
  17   Supremacy Clause, prohibit state interference with the implementation of federal
  18   law: (1) intergovernmental immunity and (2) preemption. See North Dakota v.
  19   United States, 495 U.S. 423, 434 (1990) (plurality opinion). In the alternative, under
  20   AB-32’s temporary safe-harbor provision, GEO’s USMS contract for its Western
  21   Region facility continues to be valid under state law through September 30, 2027; its
  22   contract for its El Centro facility continues to be valid through September 25, 2028;
  23   and its ICE contracts continue to be valid through December 19, 2034.
  24           A.    AB-32 Violates The Intergovernmental-Immunity Doctrine.
  25           The Supreme Court first recognized the doctrine of intergovernmental
  26   immunity two hundred years ago in the foundational case of McCulloch v. Maryland.
  27   Maryland had attempted to enforce a state tax against a branch of the Bank of the
  28   United States. 17 U.S. (4 Wheat.) 316, 317–21 (1819). The Supreme Court held that
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   1   the supremacy of the Federal Government within its legitimate sphere of action
   2   necessarily meant that the States had no power to interfere with a constitutionally
   3   valid federal activity. Id. at 427–30. Because “the power to tax involves the power to
   4   destroy,” the Court held that Maryland’s tax was unconstitutional. Id. at 431.
   5         In so holding, the Court set forth the canonical formulation of the
   6   intergovernmental-immunity doctrine:
   7         [T]he states have no power, by taxation or otherwise, to retard, impede,
             burden, or in any manner control, the operations of the constitutional
   8         laws enacted by congress to carry into execution the powers vested in
   9         the general government. This is, we think, the unavoidable consequence
             of that supremacy which the constitution has declared.
  10   Id. at 436. In short, “the activities of the Federal Government are free from regulation
  11   by any state.” Mayo v. United States, 319 U.S. 441, 445 (1943). AB-32 violates
  12   intergovernmental immunity twice over, for it both directly regulates the Federal
  13   Government and it discriminates against the Federal Government and its contractors.
  14                1.     AB-32 directly regulates the Federal Government.
  15         A state violates the doctrine of intergovernmental immunity when it purports
  16   to directly regulate the Federal Government. See North Dakota, 495 U.S. at 436.
  17   Direct regulation can manifest itself in different ways. For example, a state may not
  18   require the Federal Government to obtain a permit or license in order to carry out a
  19   federal function, even if the permit or license requirement is generally applicable.
  20   See, e.g., Hancock v. Train, 426 U.S. 167, 179–80 (1976) (state could not require
  21   federal installations to obtain a state permit to operate an air contaminant source);
  22   Mayo, 319 U.S. at 447–48 (Secretary of Agriculture could not be required to submit
  23   to state inspection and pay inspection fee for fertilizer imported into the state);
  24   Boeing Co. v. Movassaghi, 768 F.3d 832, 839–42 (9th Cir. 2014) (state could not
  25   regulate the way in which a contractor conducted environmental remediation on
  26   behalf of the Federal Government). Because there can be no doubt that AB-32
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   1   directly and substantially interferes with federal operations at GEO’s USMS and ICE
   2   facilities, AB-32 is an unconstitutional form of direct regulation.
   3         The Supreme Court has repeatedly held unconstitutional the application of
   4   generally    applicable    state    laws       to   federal   activities    under     the
   5   intergovernmental-immunity doctrine. For example, in Johnson v. Maryland, a Post
   6   Office employee who was delivering U.S. mail was arrested for driving without a
   7   state-issued driver’s license. 254 U.S. 51, 55 (1920). The Supreme Court
   8   acknowledged that “an employee of the United States does not secure a general
   9   immunity from state law while acting in the course of his employment,” and that state
  10   laws that “merely touch the Government servants remotely”—such as laws
  11   “regulating the mode of turning at the corners of streets”—might very well be
  12   constitutional. Id. at 56–57. Nonetheless, the Court held Maryland’s generally
  13   applicable driver’s license law unconstitutional as applied to federal employees
  14   carrying out their federal functions because the driver’s license law “la[id] hold of
  15   [federal employees] in their specific attempt to obey orders and requires
  16   qualifications in addition to those that the Government has pronounced sufficient.”
  17   Id. at 57. While generally applicable laws that incidentally and minimally burden
  18   federal activities do not run afoul of intergovernmental immunity, see Hancock, 426
  19   U.S. at 179, such laws are unconstitutional to the extent that they substantially
  20   interfere with federal operations, see id. at 180; Mayo, 319 U.S. at 447–48; Arizona
  21   v. California, 283 U.S. 423, 451 (1931) (state could not require the Secretary of
  22   Interior to submit plans for building a federal dam and reservoir to a state engineer
  23   for approval); see also Blackburn v. United States, 100 F.3d 1426, 1435 (9th Cir.
  24   1996) (holding that the generally applicable California Resort Act could not be
  25   applied to the Federal Government’s operations at Yosemite National Park).
  26         The same principle holds true when general state laws are applied to federal
  27   activities carried out by federal contractors. In Osborn v. Bank of the United States,
  28   22 U.S. (9 Wheat.) 738 (1824), the Supreme Court held that “the right of the State to
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   1   control [a federal contractor’s] operations, if those operations be necessary to its
   2   character, as a machine employed by the government, cannot be maintained.” Id.
   3   at 867 (Marshall, C.J.). The rule announced in Osborn has been repeatedly reaffirmed
   4   by the Supreme Court. In Goodyear Atomic Corp. v. Miller, 486 U.S. 174 (1988), the
   5   Supreme Court held that “a federally owned facility performing a federal function is
   6   shielded from direct state regulation, even though the federal function is carried out
   7   by a private contractor, unless Congress clearly authorizes such regulation.”
   8   Id. at 181.27 Because states can just as readily interfere with federal operations by
   9   regulating the activities of federal contractors as by regulating the activities of federal
  10   employees, the doctrine must extend to both. See Hancock, 426 U.S. at 174 n.23, 180
  11   (generally applicable environmental regulations invalid as applied to a private
  12   contractor operating federal uranium-enrichment facility); Leslie Miller, Inc. v.
  13   Arkansas, 352 U.S. 187, 189–90 (1956) (state could not require a federal contractor
  14   to obtain a license before constructing facilities at an Air Force Base); see also
  15   United States v. City of St. Paul, 258 F.3d 750, 754 (8th Cir. 2001).
  16         Nor has the Supreme Court limited the application of intergovernmental
  17   immunity to contractors operating federally owned facilities. For example, in Public
  18   Utilities Commission of California v. United States, 355 U.S. 534 (1958), California
  19   prohibited common carriers from transporting federal property at reduced rates
  20   without first obtaining the permission of the state’s Public Utilities Commission. Id.
  21   at 535–39. The Court held the State’s common-carrier law invalid, pointing to “[t]he
  22   seriousness of the impact of California’s regulation on the action of federal
  23   procurement officials.” Id. at 544. The Court did so even though the immediately
  24   regulated parties were private contractors using privately owned vehicles to transport
  25         27
                 The Court ultimately held that the state regulation could be applied to the
  26   nuclear facility because federal law authorized the state’s workers’ compensation
       scheme. Goodyear Atomic Corp. v. Miller, 486 U.S. 174, 182 (1988). But the
  27   important point is that the Supreme Court drew no distinction between federal
       activities carried out by federal employees and federal activities carried out by federal
  28   contractors for purposes of intergovernmental immunity.
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   1   property on non-federal highways. See id. at 537 & n.2. What mattered was that the
   2   activity in question was federal activity, and California had no power to interfere with
   3   it. See also Paul v. United States, 371 U.S. 245, 254–55 (1963) (California minimum
   4   wholesale price regulation invalid as applied to milk contractor selling to Travis Air
   5   Force Base); United States v. Ga. Pub. Serv. Comm’n, 371 U.S. 285, 292–93 (1963).
   6         In line with this precedent, the Ninth Circuit has squarely held that
   7   intergovernmental immunity forbids a state from substantially interfering with
   8   federal activity carried out by a private contractor, even where the activity occurs on
   9   private land. In Boeing Co. v. Movassaghi, California enacted a statute imposing
  10   environmental-remediation standards on a site that had been contaminated with
  11   radiological material over the course of several decades by the Federal Government
  12   and its contractor, Boeing. 768 F.3d at 837–38. A small portion of the site was owned
  13   by NASA, but the remainder of the site was owned by Boeing. Id. at 834. Because
  14   the radiological contamination was entirely the result of federal activity, the Federal
  15   Government had taken responsibility for remediating it. Id. at 835, 839. The
  16   Government had hired Boeing to implement the remediation of the site under federal
  17   direction. Id. at 836.
  18         Even though the statute purportedly applied to Boeing as a private contractor
  19   conducting federal activities at a site that was owned almost entirely by Boeing, the
  20   Ninth Circuit held that California’s statute constituted impermissible direct state
  21   regulation of federal activities in violation of the intergovernmental-immunity
  22   doctrine. The statute “directly interfere[d] with the functions of the federal
  23   government” by “mandat[ing] the ways in which Boeing render[ed] services that the
  24   federal government hired Boeing to perform”; it “replace[d] the federal cleanup
  25   standards that Boeing ha[d] to meet to discharge its contractual obligations to DOE
  26   with the standards chosen by the state”; and it “regulate[d] not only the federal
  27   contractor but the effective terms of federal contract itself.” Id. at 840. Relying on
  28   Goodyear, the Ninth Circuit held that “[t]he federal government’s decision to hire
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   1   Boeing to perform its cleanup work d[id] not affect the legal analysis.” Id. at 839. As
   2   the Ninth Circuit observed in a subsequent case: “For purposes of intergovernmental
   3   immunity, federal contractors are treated the same as the federal government itself.”
   4   United States v. California, 921 F.3d 865, 882 n.7 (9th Cir. 2019).
   5         Boeing is directly applicable here, and in conjunction with the foregoing
   6   Supreme Court precedent, it requires holding that AB-32 violates intergovernmental
   7   immunity as applied to GEO’s ICE and USMS facilities. As in Boeing, the activity
   8   being carried out by GEO is federal activity. See also Goodyear Atomic Corp.,
   9   486 U.S. at 180–81; Pub. Utils. Comm’n of Cal., 355 U.S. at 544; Leslie Miller, Inc.,
  10   352 U.S. at 189–90. In fact, the activity at issue here is inherently federal: only the
  11   Federal Government or its authorized contractor may detain aliens and federal
  12   criminal defendants. As in Boeing, California seeks to “directly interfere[ ] with the
  13   functions of the federal government” with respect to the detention of aliens and
  14   federal prisoners. 768 F.3d at 840. Indeed, while in Boeing California only sought to
  15   regulate how the contractor carried out its federal activities, here California seeks to
  16   prohibit the contractor from carrying out an activity that only the Federal
  17   Government can perform, a paradigmatic violation of intergovernmental immunity
  18   that makes this an easy case. See Hancock, 426 U.S. at 179–80.
  19         Indeed, Section 9501 effectively prohibits the Federal Government from using
  20   any private detention facilities in the State, requiring it instead to directly operate
  21   such facilities using federal employees. Simply put, California cannot bar the Federal
  22   Government from using private contractors to carry out a uniquely federal function.
  23         There can be no question that AB-32 substantially interferes with federal
  24   operations. Once it takes full effect, every dedicated ICE detention center in
  25   California would be required to shut down, leaving only a few non-dedicated
  26   facilities capable of housing only a small fraction of the average daily population of
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   1   ICE detainees in the State.28 The same is true of the Federal Government’s USMS
   2   facilities in the Southern District of California. Under AB-32, two of the three USMS
   3   facilities in the San Diego area (GEO’s Western Region Detention Facility and the
   4   El Centro Service Processing Center) would be shut down, depriving USMS of nearly
   5   two-thirds of its beds in the San Diego area.29 The next-closest USMS facilities in
   6   California that are not privately run are located in Santa Ana, which is not even in
   7   the Southern District, and could house only a fraction of the average daily population
   8   of the Western Region facility.30 This restriction constitutes substantial interference
   9   under any definition of that phrase, and AB-32 is therefore unconstitutional.
  10                2.     AB-32 discriminates against the Federal Government.
  11         Like the prohibition of direct state regulation of Federal Government
  12   functions, the constitutional prohibition of state regulatory discrimination against the
  13   Federal Government prevents states from “defeat[ing] the legitimate operations of a
  14   supreme government.” McCulloch, 17 U.S. (4 Wheat.) at 427. If a state legislature
  15   had the authority to tax or regulate the Federal Government’s operations without
  16   imposing the same tax or regulation on the state’s own activities, it could do so
  17   without fear of political repercussion from its constituents. Id. at 128;
  18   South Carolina v. Baker, 485 U.S. 505, 525 n.15 (1988). In short, “[t]he
  19   nondiscrimination rule finds its reason in the principle that the States may not directly
  20   obstruct the activities of the Federal Government.” North Dakota, 495 U.S. at 437–
  21   38 (plurality opinion).31
  22
             28
                  ERO CUSTODY MGMT. DIV., AUTHORIZED DEDICATED FACILITY LIST
  23
       (Dec. 2, 2019), https://bit.ly/2PXHNmM, Ex. U at 210–11.
  24          29
                 DETENTION POPULATION, supra note 5, at 2, Ex. I at 126.
              30
  25             Martin Decl. ¶ 11; DETENTION POPULATION, supra note 5, at 2, Ex. I at 126.
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                 It does not matter whether the discriminatory state law does, in fact, interfere
  26   with federal operations; unlike the direct-regulation line of cases (which prohibit only
       substantial interference with federal operations), the intergovernmental-immunity
  27   doctrine forbids any discrimination against the Federal Government, no matter how
       de minimis its burden on federal activity. See Dawson v. Steager, 139 S. Ct. 698, 704
  28   (2019); United States v. California, 921 F.3d 865, 883 (9th Cir. 2019) (“Supreme
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   1         And because the Federal Government often uses private contractors to carry
   2   out its activities, the nondiscrimination principle protects federal contractors just as
   3   it protects the Federal Government itself:
   4         Since a regulation imposed on one who deals with the Government has
             as much potential to obstruct governmental functions as a regulation
   5         imposed on the Government itself, the Court has required that the
   6         regulation be one that is imposed on some basis unrelated to the object’s
             status as a Government contractor or supplier, that is, that it be imposed
   7         equally on other similarly situated constituents of the State.
   8   Id. at 438. Accordingly, a state must “treat those who deal with the [Federal]
   9   Government as well as it treats those with whom it deals itself.” Phillips Chem. Co.
  10   v. Dumas Indep. Sch. Dist., 361 U.S. 376, 385 (1960); see also Davis v. Mich. Dep’t
  11   of Treasury, 489 U.S. 803, 814–15 (1989); Boeing, 768 F.3d at 842–43.
  12         In applying the non-discrimination principle, the key question is whether the
  13   state law in question “treat[s] similarly situated persons differently.” Dawson v.
  14   Steager, 139 S. Ct. 698, 705 (2019). State laws that treat similarly situated state and
  15   federal contractors differently are invalid. “[T]he State’s interest in adopting the
  16   discriminatory [law], no matter how substantial, is simply irrelevant.” Id. at 704
  17   (quotation marks omitted). In assessing whether two classes are similarly situated,
  18   courts ask whether there are “significant difference[s]” between the state and federal
  19   classes that are “directly related to” the differential treatment. Id.; Davis, 489 U.S. at
  20   815–16; Phillips Chem. Co., 361 U.S. at 383.
  21         There can be no doubt that AB-32 does, in fact, discriminate against the
  22   Federal Government. Section 9501 prohibits a type of activity in which both state and
  23   federal contractors engage: the “operat[ion] [of] . . . private detention facilit[ies]
  24   within the state.” Section 9500(b) defines “private detention facility”—the operative
  25   term in Section 9501’s prohibition—without distinguishing between state and federal
  26   facilities; nor does the definition of “detention facility” in Section 9500(a) distinguish
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       Court case law compels the rejection of a de minimis exception to the doctrine of
  28   intergovernmental immunity.”).
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   1   between state and federal facilities. Accordingly, there can be no question that state
   2   and federal contractors operating private detention facilities in California are
   3   similarly situated.
   4         Nevertheless, AB-32 treats state private detention facilities very differently
   5   than those operated by federal contractors. The general prohibition against the
   6   operation of private detention facilities set forth in Section 9501 ostensibly applies to
   7   both, but Sections 9502(a)–(g) and 9505(b) create exceptions to the general
   8   prohibition that almost exclusively favor state contractors. Subsections 9502(a)–(b)
   9   and 9502(d)–(f) describe detention activity that is only carried out by the State,
  10   specifically referencing parts of the California Code under which the activity is being
  11   carried out.32 Likewise, the exception contained in Section 9505(b) applies only to
  12   private detention facilities under contract with California Department of Corrections
  13   and Rehabilitation. Thus, these exceptions create a favored class of state contractors
  14   operating private detention facilities whose activity is not prohibited. States may not
  15   discriminate against the Federal Government by granting state actors the benefit of
  16   exceptions to a general rule that are denied to similarly situated federal actors.
  17   See Dawson, 139 S. Ct. at 705–06.
  18         The brazen nature of this favoritism comes into sharp focus when one
  19   considers the sum-total effect of AB-32’s exceptions. See Washington v.
  20   United States, 460 U.S. 536, 541–46 (1983) (collecting cases examining the overall
  21   effect of the regulatory scheme in determining whether a state violated
  22   intergovernmental immunity). Taken together, the net effect of the exceptions is that
  23   California systematically exempts the State’s own contractors from the general
  24   prohibition on the operation of private detention facilities even as it enforces the
  25   prohibition against federal contractors. For instance, Section 9505(b) effectively
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  27            Section 9502(e) does not refer to provisions of the California Code, but the
       Federal Government does not operate school facilities for minors, so it is clear that
  28   this exception does not apply to federal contractors.
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   1   allows the State to exempt its entire prison system from the prohibition set forth in
   2   Section 9501 because it can always credibly maintain that it is using any private
   3   detention facilities it wishes to operate “in order to comply with the requirements of”
   4   the population cap imposed on it by Brown v. Plata, 563 U.S. 493 (2011).
   5         Once again, the Ninth Circuit’s decision in Boeing guides the way. In that case,
   6   the California statute imposing stringent environmental-remediation standards
   7   appeared to be neutral; it did not expressly target the Federal Government for
   8   differential treatment. Instead, it applied to “a responsible party or parties” at the
   9   Santa Susana Field Laboratory. 768 F.3d at 839; see also CAL. HEALTH & SAFETY
  10   CODE § 25359.20(a). But this purported neutrality was, in truth, a farce, because the
  11   Federal Government was the “responsible party” at Santa Susana and the California
  12   statute singled out Santa Susana for “more stringent cleanup standards than generally
  13   applicable state environmental laws.” Boeing Co., 768 F.3d at 839, 843. By targeting
  14   a federal cleanup site for differential treatment not imposed on any other
  15   environmental site in the State, the California statute engaged in impermissible
  16   discrimination against the Federal Government and its contractor, Boeing. Id. at 842–
  17   43. Just as the California statute in Boeing was gerrymandered to “discriminat[e]
  18   against the federal government and against Boeing as a federal contractor,” id. at 843,
  19   AB-32 is gerrymandered to discriminate against the Federal Government and GEO
  20   as a federal contractor, see also United States v. City of Arcata, 629 F.3d 986, 991
  21   (9th Cir. 2010) (ordinances discriminated against the Federal Government because
  22   “they specifically target[ed] and restrict[ed] the conduct of military recruiters”).
  23         The fact that one exception, set forth in Section 9502(c), applies to the
  24   operation of some federal private-detention facilities commonly known as halfway
  25   houses does not change the analysis. Dawson makes clear that the relevant
  26   comparison for purposes of determining intergovernmental discrimination is between
  27   the favored class of state entities and the disfavored class of federal entities.
  28   139 S. Ct. at 705–06. In other words, that the State treats some federal contractors no
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   1   worse than some state contractors says nothing about whether federal contractors as
   2   a class are discriminated against, relative to state contractors. Section 9502(c) only
   3   shows that the State’s discrimination against the Federal Government is not total; it
   4   does not at all detract from the reality that AB-32 systematically exempts state
   5   contractors from its prohibition while leaving the Federal Government as the target
   6   of Section 9501. See United States v. City of Manassas, 830 F.2d 530, 533 (4th Cir.
   7   1987) (state statute unconstitutionally discriminated against the Federal Government
   8   even though it treated the State and Federal Governments alike in most
   9   respects), aff’d, 485 U.S. 1017 (1988).
  10         Because California has gerrymandered AB-32 to treat federal contractors
  11   worse than state contractors, AB-32 discriminates against the Federal Government,
  12   and it is unconstitutional.
  13         B.     AB-32 Is Preempted By Federal Law.
  14         Whereas intergovernmental immunity arises directly from the Supremacy
  15   Clause even in the absence of an applicable federal statute, preemption occurs when
  16   a state regulation “conflict[s] with an affirmative command of Congress.” North
  17   Dakota, 495 U.S. at 434 (emphasis added). State law “actually conflicts” with federal
  18   law, English v. Gen. Elec. Co., 496 U.S. 72, 79 (1990), when it “stands as an obstacle
  19   to the accomplishment and execution of congressional objectives,” Nw. Cent.
  20   Pipeline v. State Corp. Comm’n of Kan., 489 U.S. 493, 509 (1989). And when
  21   deciding whether a state law presents such an obstacle, courts consider “the entire
  22   scheme of the statute,” and “that which needs must be implied is of no less force than
  23   that which is expressed.” Savage v. Jones, 225 U.S. 501, 533 (1912). In other words,
  24   if the federal law’s “operation within its chosen field . . . must be frustrated and its
  25   provisions be refused their natural effect—the state law must yield to the regulation
  26   of Congress within the sphere of its delegated power.” Id.
  27         AB-32 is preempted because it denies to both federal immigration and criminal
  28   law-enforcement statutes their “natural effect[s]” and obviously “frustrate[s]” their
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   1   operation. Id. These statutory schemes authorize ICE and the USMS to carry out their
   2   respective detention operations using private contractors. AB-32 directly undermines
   3   these authorizations, prohibiting not only what Congress permitted, but also those
   4   actions that Congress clearly anticipated that the Attorney General and his
   5   subordinates would take to enforce federal law.
   6                1.     AB-32 is preempted by federal immigration law.
   7         Congress’s “considerable authority over immigration matters” includes the
   8   “power to detain aliens in connection with removal.” Demore v. Kim, 538 U.S. 510,
   9   523 (2003) (quoting Zadvydas v. Davis, 533 U.S. 678, 711 (2001) (Kennedy, J.,
  10   dissenting)). Indeed, “any policy toward aliens” is “exclusively entrusted to the”
  11   Federal Government. Harisiades v. Shaughnessy, 342 U.S. 580, 588–89 (1952)
  12   (emphasis added). Therefore, “[w]hen the national government by treaty or statute
  13   has established rules and regulations touching the rights, privileges, obligations or
  14   burdens of aliens as such, the treaty or statute is the supreme law of the land.” Hines v.
  15   Davidowitz, 312 U.S. 52, 62–63 (1941).
  16         By contrast, when a state enacts any law touching on the field of immigration,
  17   whatever “concurrent state power that may exist is restricted to the narrowest of
  18   limits[,]” and must be “subordinate to supreme national law.” Id. at 68. Because the
  19   States’ historic police powers do not include immigration-related matters, the
  20   presumption against preemption—sometimes applicable for regulatory fields in
  21   which the States “have traditionally occupied,” Wyeth v. Levine, 555 U.S. 555, 565
  22   (2009) (quotation marks omitted)—has no purchase in the immigration context, see
  23   United States v. Arizona, 641 F.3d 339, 348 (9th Cir. 2011), aff’d in part, rev’d in
  24   part and remanded, 567 U.S. 387 (2012).
  25         The Immigration and Nationality Act (INA) provides that “[t]he Attorney
  26   General shall arrange for appropriate places of detention for aliens detained pending
  27   removal or a decision on removal.” 8 U.S.C. § 1231(g)(1). And the statute expressly
  28   authorizes him to use “facilities adapted or suitably located for detention [that] are
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   1   []available for rental.” Id. Indeed, the statute authorizes the Attorney General to
   2   expend funds to acquire new facilities only when United States facilities are
   3   unavailable or suitable facilities are “unavailable for rental.” Id.
   4         The “natural effect” of Section 1231(g) is unmistakable: “Congress . . . placed
   5   the responsibility of determining where aliens are detained within the discretion of
   6   the Attorney General.” Comm. of Cent. Am. Refugees v. INS, 795 F.2d 1434, 1440
   7   (9th Cir. 1986) (interpreting the similarly worded 8 U.S.C. § 1252(c) (1986)). And
   8   that discretion is “broad.” Id. California may not circumscribe that discretion by
   9   prohibiting the Federal Government from contracting with private detention facility
  10   operators.
  11         The State’s attempt to limit the Attorney General’s delegated discretion is
  12   unlawful for the same reasons marshalled by the Supreme Court in Crosby v.
  13   National Foreign Trade Council, 530 U.S. 363 (2000). Massachusetts had prohibited
  14   its agencies from purchasing goods or services from companies doing business with
  15   Burma (now Myanmar). 530 U.S. at 367. Meanwhile, Congress had passed a statute
  16   imposing certain sanctions on Burma; authorizing the President to impose additional
  17   sanctions subject to certain prescribed conditions; and directing the President to
  18   develop a strategy for improving Burma’s human-rights practices. See id. at 368–69.
  19   The Court held that this statute preempted the Massachusetts law because the state
  20   law “undermine[d] the intended purpose and ‘natural effect’ of at least three
  21   provisions of the federal Act.” Id. at 373.
  22         Most pertinent here, the Court explained that “Congress clearly intended the
  23   federal Act to provide the President with flexible and effective authority over
  24   economic sanctions against Burma.” Id. at 374. Indeed, “[w]ithin the sphere defined
  25   by Congress . . . the statute . . . placed the President in a position with as much
  26   discretion to exercise economic leverage against Burma . . . as our law will admit.”
  27   Id. at 375–76.
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   1         The same is true of AB-32: it undermines the grant of substantial discretion
   2   afforded to the Attorney General by the INA. And it is equally “implausible” here
   3   that Congress “would have gone to such lengths to empower” the Attorney General
   4   with such broad discretion in detaining aliens awaiting removal proceedings and yet,
   5   at the same time, “been willing to compromise his effectiveness by deference to every
   6   provision of state statute or local ordinance that might, if enforced, blunt the
   7   consequences of discretionary . . . action.” Id. at 376. And, importantly, even Crosby
   8   did not confront the sort of obstacle posed by AB-32. The state law here does not
   9   merely “blunt the consequences” of the Attorney General’s exercise of discretion; it
  10   narrows his sphere of discretion and essentially prohibits him from even taking
  11   actions authorized by the federal statute.
  12         Settled precedent makes clear that “normally Congress would not want States
  13   to forbid, or to impair significantly, the exercise of a power that Congress explicitly
  14   granted.” Lusnak v. Bank of Am., N.A., 883 F.3d 1185, 1192 (9th Cir. 2018) (quoting
  15   Barnett Bank of Marion Cty., N.A. v. Nelson, 517 U.S. 25, 33 (1996)). Conflict
  16   between state and federal law “does not evaporate” because the federal law “simply
  17   permits, but does not compel” federal instrumentalities to take certain acts. Fidelity
  18   Fed. Sav. & Loan Ass’n v. de la Cuesta, 458 U.S. 141, 155 (1982). For example, in
  19   United States v. City of Pittsburg, 661 F.2d 783 (9th Cir. 1981), the Ninth Circuit
  20   found a “clear” conflict between federal and local law where the local ordinance
  21   prohibited postal carriers from crossing lawns without first obtaining the owner’s
  22   express consent, even as federal law authorized postal carriers to cross such lawns
  23   unless the owner objected. Id. at 785. Because the ordinance interfered with the postal
  24   carriers’ federal duties to deliver mail efficiently, it was preempted. Id. at 786. The
  25   same is true here.
  26         AB-32 impermissibly conflicts with the INA because it necessarily restricts
  27   the otherwise broad discretion delegated to the Attorney General for detaining aliens
  28   within the United States. However, AB-32 also conflicts with the broader federal
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   1   policies and priorities expressed in the INA. Most significantly, the INA instructs the
   2   Director of ICE,33 “[p]rior to initiating any project for the construction of any new
   3   detention facility,” to “consider the availability for purchase or lease of any existing
   4   prison, jail, detention center, or other comparable facility suitable for such use.”
   5   8 U.S.C. § 1231(g)(2). In other words, under the INA, building new federally owned
   6   immigration detention facilities should be a last resort, not to be undertaken when
   7   suitably private facilities are available for lease.
   8         AB-32—working in tandem with California’s other regulatory statutes—
   9   essentially makes it all but impossible for the Attorney General to avoid this last
  10   resort. After the passage of AB-103 and SB-29, cities, counties, and other localities
  11   in California were largely forbidden from housing federal alien detainees within their
  12   jurisdictions.
  13         By prohibiting private detention, AB-32 all but requires the Attorney General
  14   to either build or purchase ICE facilities or begin transferring aliens out of California.
  15   In no conceivable world did Congress delegate broad authority to the Attorney
  16   General to arrange for “appropriate places of detention,” only to have the States
  17   reduce him to choosing between only two oftentimes inappropriate options. And
  18   while Congress recognized a variety of potentially “appropriate” arrangements for
  19   housing aliens pending removal, it even explicitly disfavored one of the two options
  20   left to the Attorney General after AB-32—building or purchasing new facilities.
  21         In particular, it is well settled that “any state law that impedes the federal
  22   government’s ability to contract . . . [is] preempted.” Student Loan Servicing All. v.
  23   District of Columbia, 351 F. Supp. 3d 26, 62 (D.D.C. 2018), appeal dismissed sub
  24   nom. Student Loan Servicing All. v. Taylor, No. 19-7001, 2019 WL 2158372
  25   (D.C. Cir. May 15, 2019). In Gartrell Construction Inc. v. Aubry, 940 F.2d 437 (9th
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  27             The statute identifies the Commissioner of the Immigration and
       Naturalization Services, but his functions have been transferred to the Director of
  28   ICE. See 6 U.S.C. § 557.
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   1   Cir. 1991), the Ninth Circuit held—consistent with longstanding Supreme Court
   2   precedent—that the state’s attempt to regulate contractors performing services on a
   3   federal construction project was preempted. Id. at 438–41 (citing Leslie Miller, Inc.,
   4   352 U.S. 187). While the Federal Government had concluded that the contractor in
   5   Gartrell had satisfied the requirements for “responsibility” dictated by the Federal
   6   Acquisition Regulations, the state imposed a parallel licensing regime that
   7   “effectively attempt[ed] to review the federal government’s responsibility
   8   determination.” Id. 439. Such second-guessing of the Federal Government’s
   9   contracting choices “interfere with federal government functions and would frustrate
  10   the federal policy.” Id. at 441.
  11         This same analysis applies to AB-32: federal law requires the Attorney General
  12   to arrange for “appropriate” places of detention for aliens detained pending removal
  13   and authorizes him to lease private detention facilities to carry out this function. But
  14   the state statute categorically prohibits of the use of private detention facilities.
  15   AB-32 thus represents precisely the kind of second-guessing that is preempted under
  16   Gartrell Construction.
  17         No matter how one characterizes AB-32—as a limitation on the Attorney
  18   General’s congressionally delegated discretion, or as an interference with the Federal
  19   Government’s ability to contract with private entities whose facilities it deems
  20   “appropriate” under the INA, or both—it clearly conflicts with federal law. AB-32 is
  21   an impermissible obstacle to federal immigration law and is therefore preempted.
  22                2.     AB-32 is preempted by federal criminal law.
  23         AB-32 likewise conflicts with the Federal Government’s unique interest in
  24   enforcing federal criminal law. The United States has authority to detain individuals
  25   accused of committing federal crimes. See, e.g., Greenwood v. United States,
  26   350 U.S. 366, 375 (1956). The United States Marshals Service—housed within the
  27   Department of Justice and supervised by the Attorney General, see 28 U.S.C.
  28   § 561(a)—is tasked with the responsibility to execute that federal function, see
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   1   18 U.S.C. § 4086 (“United States marshals shall provide for the safe-keeping of any
   2   person arrested, or held under authority of any enactment of Congress pending
   3   commitment to an institution.”).
   4         The federal statutory scheme also provides the Marshals with ample means for
   5   detaining federal criminal defendants. The Attorney General may contract with state
   6   or local jurisdictions to house federal detainees. 18 U.S.C. § 4002. Congress has also
   7   authorized the Attorney General to “make payments from funds appropriated for
   8   Federal prisoner detention for,” among other things, “the housing, care, and security
   9   of persons held in custody of a United States marshal pursuant to . . . contracts with
  10   private entities.” Id. § 4013(a)(3) (emphasis added). In short, the Attorney General
  11   has express statutory authority to contract with “private entities” for the purpose of
  12   assisting the Marshals’ detention operations.
  13         Congress has confirmed elsewhere in the statutory scheme that the Attorney
  14   General’s contracting discretion is, like in the immigration context, quite broad. In
  15   particular, “the activities of the Department of Justice . . . may, in the reasonable
  16   discretion of the Attorney General, be carried out through any means, including . . .
  17   through contracts, grants, or cooperative agreements with non-Federal parties.”
  18   28 U.S.C. § 530C(a)(4) (emphases added); see also id. § 530C(b)(7).
  19         Reading 18 U.S.C. § 4013(a)(3) and 28 U.S.C. § 530C(a)(4) together,
  20   Congress has authorized the Attorney General to enter into contracts with private
  21   parties to provide for the detention of federal prisoners in non-federal institutions and
  22   has left these contracting decisions to his reasonable discretion. And as in the
  23   immigration context, AB-32 necessarily conflicts with these federal laws because it
  24   purports to withdraw from the Attorney General discretion delegated to him by
  25   Congress. Crosby, City of Pittsburg, Leslie Miller, and Gartrell Construction all
  26   preclude AB-32 from interfering with the Marshals’ detention obligations by
  27   prohibiting the use of private detention facilities that Congress has expressly
  28   authorized.
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   1         The conflict between AB-32 and federal law is all the more acute when
   2   considering the Marshals’ growing need for private detention, especially in the
   3   Southern District of California. Federal law authorizes the Marshals to “designate
   4   districts that need additional support from private detention entities” based on “the
   5   number of Federal detainees in the district” and “the availability of appropriate
   6   Federal,       State,    and      local      government       detention       facilities.”
   7   18 U.S.C.§ 4013(c)(1)(A)–(B). In fact, private entities are only eligible to contract
   8   for the housing of persons held in custody of the Marshals if they are “located in a
   9   district that has been designated as needing additional Federal detention facilities.”
  10   Id. § 4013(c)(2)(A).
  11         AB-32 would, if allowed to take effect, force GEO to close the Western Region
  12   Detention Facility and the El Centro Service Processing Center, reducing the
  13   detention capacity available to the Marshals in the San Diego area by nearly
  14   two-thirds.34 The next-closest, non-private facilities—in Santa Ana, California,
  15   roughly 90 miles from San Diego—have a combined average daily population of less
  16   than one-third the average daily population of the Western Region Detention Facility
  17   alone.35 Congress expressly authorized the Marshals to contract for private detention
  18   in districts where other forms of detention prove inadequate. This authority is crucial
  19   in light of the Marshals’ statutory obligation to remain in or near the judicial district
  20   to which they are assigned. See, e.g., 28 U.S.C. §§ 561(c), (e), 566(b). And yet,
  21   AB-32 purports to nullify that authorization and override the Marshals’ discretionary
  22   determination that private detention is necessary for them to fulfill their statutory
  23   obligation within the Southern District of California. AB-32 denies to federal law
  24   enforcement the very detention tools that Congress expressly provided for, and the
  25   law therefore cannot stand under bedrock preemption principles.
  26
  27         34
                  DETENTION POPULATION, supra note 5, at 2, Ex. I at 126.
             35
  28              Martin Decl. ¶ 11; DETENTION POPULATION, supra note 5, at 2, Ex. I at 126.
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   1          C.     Alternatively, GEO Is Entitled To Continue Operating Its USMS
   2                 And ICE Facilities Under AB-32’s Temporary Safe-Harbor
   3                 Provision.
   4          For the foregoing reasons, AB-32 is a direct assault on the supremacy of
   5   federal law, and GEO is entitled to a declaration that it is unconstitutional and an
   6   injunction against its enforcement in toto. If, however, the Court declines to grant
   7   GEO the foregoing equitable relief, it should at a minimum provide partial relief by
   8   declaring that AB-32’s temporary safe-harbor provision protects GEO’s facilities
   9   through the end of their contractual terms and enjoining Defendants from attempting
  10   to shut down GEO’s facilities until the contracts terminate.
  11          As noted earlier, Section 9505(a) of AB-32 states: “Section 9501 does not
  12   apply to . . . [a] private detention facility that is operating pursuant to a valid contract
  13   with a governmental entity that was in effect before January 1, 2020, for the duration
  14   of that contract, not to include any extensions made to or authorized by that contract.”
  15   GEO’s USMS and ICE detention facilities are currently operating within this
  16   temporary safe harbor.
  17          As recounted above, USMS signed a contract with GEO in November 2017 to
  18   operate the Western Region Detention Facility, and it exercised an option on
  19   October 1, 2019 to continue the contract. Because both the original contract and the
  20   option were “in effect before January 1, 2020,” GEO’s Western Region contract is
  21   therefore valid under Section 9505(a) through its full contract term ending on
  22   September 30, 2027. Likewise, USMS signed its contract with GEO to operate the
  23   El Centro Service Processing Center on December 23, 2019, and because that
  24   contract was “in effect before January 1, 2020,” GEO’s El Centro contract is valid
  25   under AB-32’s temporary safe-harbor provision through its full contract term ending
  26   on September 25, 2028.
  27          GEO signed new contracts with ICE on December 19, 2019, with an effective
  28   date of December 20, 2019. These contracts were therefore “in effect before January
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   1   1, 2020” as to all five of GEO’s ICE detention facilities: Adelanto, Desert View (as
   2   an annex to Adelanto), Mesa Verde, Central Valley (as an annex to Mesa Verde), and
   3   Golden State (also as an annex to Mesa Verde). Because GEO’s new ICE contracts
   4   have a full contract term ending on December 19, 2034, these facilities are protected
   5   under AB-32’s safe harbor through that date.
   6   II.   GEO Is Likely To Suffer Irreparable Harm Without A Preliminary
   7         Injunction.
   8         GEO has shown a substantial likelihood that AB-32 violates the Federal
   9   Constitution and, in the alternative, that GEO’s USMS and ICE contracts are
  10   protected by AB-32’s temporary safe harbor through the end of the contract terms. It
  11   follows that the likely harm AB-32 would inflict on GEO during the pendency of
  12   litigation—forcing GEO to close its facilities—is irreparable. The Ninth Circuit has
  13   long maintained that a “constitutional violation alone, coupled with the damages
  14   incurred, can suffice to show irreparable harm.” Am. Trucking Ass’ns, Inc. v. City of
  15   Los Angeles, 559 F.3d 1046, 1058 (9th Cir. 2009); see also Valle del Sol Inc. v.
  16   Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) (presuming irreparable harm from a
  17   preempted state law); United States v. Arizona, 641 F.3d 339, 366 (9th Cir. 2011)
  18   aff’d in part, rev’d in part and remanded, 567 U.S. 387 (2012); Assoc. Gen.
  19   Contractors v. Coal. for Econ. Equity, 950 F.2d 1401, 1412 (9th Cir. 1991). This
  20   presumption makes eminent sense because “constitutional violations cannot be
  21   adequately remedied through damages.” Nelson v. Nat’l Aeronautics & Space
  22   Admin., 530 F.3d 865, 882 (9th Cir. 2008), rev’d on other grounds, 562 U.S. 134
  23   (2011).
  24         Even if this Court does not presume irreparable harm from AB-32’s conflict
  25   with the Constitution, GEO’s harm is irreparable under the standard for non-
  26   constitutional injuries. “[I]rreparable harm is traditionally defined as harm for which
  27   there is no adequate legal remedy, such as an award of damages.” Az. Dream Act Coal.
  28   v. Brewer, 855 F.3d 957, 978 (9th Cir. 2017) (amended opinion). GEO has no adequate
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   1   legal remedy for one obvious reason: it may not pursue a damages suit in federal court
   2   against the State of California for the immense financial harm it will suffer if AB-32
   3   takes effect. See U.S. CONST. amend. XI; Kentucky v. Graham, 473 U.S. 159, 169
   4   (1985).
   5          The Ninth Circuit regularly holds that monetary harms that cannot be
   6   compensated because of sovereign immunity are irreparable. See, e.g., California v.
   7   U.S. Dep’t of Health & Human Servs., 941 F.3d 410, 431 (9th Cir. 2019). Where, as
   8   here, plaintiffs show that a state law violates the Supremacy Clause, any resulting
   9   monetary harm is irreparable because the Eleventh Amendment “bars the [plaintiff]
  10   from ever recovering damages in federal court.” Cal. Pharmacists Ass’n v.
  11   Maxwell-Jolly, 563 F.3d 847, 852 (9th Cir. 2009) (per curiam), vacated on other
  12   grounds and remanded sub nom. Douglas v. Indep. Living Ctr. of S. Cal., Inc.,
  13   565 U.S. 606 (2012). Here, GEO would suffer over $4 billion in monetary harm.
  14   Martin Decl. ¶¶ 53–56. Therefore, “because [GEO] . . . will be unable to recover
  15   damages against the [State] even if [it is] successful on the merits of [its] case, [it]
  16   will suffer irreparable harm if the requested injunction is not granted.” Id. at 852; see
  17   also Cal. Pharmacists Ass’n v. Maxwell-Jolly, 596 F.3d 1098, 1113–14 (9th Cir.
  18   2010) (“[T]o show a risk of irreparable harm, plaintiffs may show . . . that they will
  19   lose considerable revenue . . . that they will be unable to recover due to the State’s
  20   Eleventh Amendment sovereign immunity.”), vacated on other grounds and
  21   remanded sub nom. Douglas, 565 U.S. 606.
  22   III.   The Public Interest And Balance Of Equities Favor An Injunction.
  23          Because GEO has shown a strong likelihood that AB-32 violates the Federal
  24   Constitution, it has “also established that both the public interest and the balance of
  25   the equities favor a preliminary injunction.” Az. Dream Act Coalition v. Brewer,
  26   757 F.3d 1053, 1069 (9th Cir. 2014). “[I]t is clear that it would not be equitable or in
  27   the public’s interest to allow the state . . . to violate the requirements of federal law,
  28   especially when there are no adequate remedies available.” Valle del Sol Inc.,
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   1   732 F.3d at 1029 (quoting Arizona, 641 F.3d at 366). “In such circumstances, the
   2   interest of preserving the Supremacy Clause is paramount.” Arizona, 641 F.3d at 366
   3   (quoting Cal. Pharmacists Ass’n, 563 F.3d at 853); see also California, 921 F.3d
   4   at 893 (reaffirming the court’s “previous recognition that preventing a violation of
   5   the Supremacy Clause serves the public interest”). Moreover, the State cannot claim
   6   hardship from the preliminary injunction “because it cannot suffer harm from an
   7   injunction that merely ends an unlawful practice.” Rodriguez v. Robbins, 715 F.3d
   8   1127, 1145 (9th Cir. 2013).
   9   IV.   The Court Should Enter Final Judgment Awarding A Permanent
  10         Injunction.
  11         For the foregoing reasons, GEO is entitled to a preliminary injunction against
  12   enforcement of AB-32, and because the legal questions in this case require no further
  13   factual development, permanent injunctive relief is likewise appropriate. The Ninth
  14   Circuit has held that, where a plaintiff seeking a preliminary injunction has shown a
  15   “100% probability of success on the merits” due to the legal nature of the claim, and
  16   “[n]o facts which might be adduced at a trial w[ould] change this result,” courts
  17   should enter final judgment awarding a permanent injunction. Baby Tam & Co. v.
  18   City of Las Vegas, 154 F.3d 1097, 1102 (9th Cir. 1998), abrogated on other grounds
  19   Dream Palace v. County of Maricopa, 384 F.3d 990, 1002 (9th Cir. 2004). That
  20   standard is met here: “the merits of the plaintiffs’ challenge are certain and don’t turn
  21   on disputed facts.” Wrenn v. District of Columbia, 864 F.3d 650, 667 (D.C. Cir.
  22   2017); see also Moore v. Madigan, 702 F.3d 933, 942 (7th Cir. 2012).
  23                                      CONCLUSION
  24         Plaintiff GEO respectfully requests that this Court declare AB-32
  25   unconstitutional and grant its motion for a preliminary injunction and restrain
  26   Defendants from enforcing AB-32 against GEO. In the alternative, GEO respectfully
  27   requests a preliminary injunction restraining Defendants from attempting to close
  28   GEO’s Western Region facility before October 1, 2027, GEO’s El Centro facility
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   1   before September 26, 2028, and GEO’s ICE facilities before December 20, 2034.
   2   Finally, because there are no genuine disputes of material fact, Plaintiff also
   3   respectfully requests that—regardless of whether this Court enters preliminary
   4   injunctive relief on the basis of unconstitutionality or on the basis of AB-32’s
   5   temporary safe harbor—this Court convert its preliminary injunction into a
   6   permanent injunction and enter final judgment.
   7
   8   Dated:   December 31, 2019
   9
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